19 F.3d 11
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James H. NEWKIRK, Jr., Petitioner-Appellant,v.William L. SMITH, Warden;  Richard A. Lanham, Sr.,Commissioner, etc.;  Attorney General of the Stateof Maryland, Respondents-Appellees.
    No. 93-6901.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 20, 1994.Decided March 4, 1994.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  William M. Nickerson, District Judge.  (CA-93-788-WN)
      James H. Newkirk, Jr., Appellant Pro Se.
      John Joseph Curran, Jr., Attorney General, Annabelle Louise Lisic, OFFICE OF THE ATTORNEY GENERAL OF MARYLAND, Baltimore, MD, for Appellees.
      D.Md.
      AFFIRMED.
      Before PHILLIPS and NIEMEYER, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Newkirk v. Smith, No. CA-93-788-WN (D. Md. Aug. 13, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    